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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS


   MARGARET LORSBACH,                              )
                                                   )
                         Plaintiff,                )
                                                   )
   vs.                                             )   Case No. 17-CV-18-SMY-DGW
                                                   )
   PIONEER RESTAURANTS, L.L.C., et al.             )
                                                   )
                         Defendants.               )

                              JUDGMENT IN A CIVIL ACTION

         This matter having come before the Court, and the Court having rendered a decision,

         IT IS ORDERED that pursuant to the Memorandum and Order dated February 28, 2018

  (Doc. 48), Defendants Pioneer Restaurants, L.L.C. and Hardee’s Restaurants, L.L.C. are

  DISMISSED with prejudice. Plaintiff shall recover nothing, and this action is DISMISSED in its

  entirety.

         DATED: February 28, 2018
                                                       JUSTINE FLANAGAN, Acting Clerk

                                                       By: s/_Stacie Hurst__________
                                                         Deputy Clerk

  APPROVED: s/ Staci M. Yandle
            STACI M. YANDLE
            United States District Judge




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